      Case 3:15-cr-00137-RAM         Document 610        Filed 11/15/16    Page 1 of 9




                               IN THE UNITED STATES COURT
                             FOR THE DISTRICT OF PUERTO RICO


        UNITED STATES OF AMERICA,
                                                   CRIM. NO.: 15-137(GAG/SCC)
                Plaintiff,
                    v.
 [4] CHRISTIAN VARGAS-TORRES,

              Defendant.



             REPORT AND RECOMMENDATION ON PLEA OF GUILTY

       I.     PROCEDURAL BACKGROUND

       On February 19, 2015, defendant Christian Vargas-Torres was charged in a multi-

count indictment. On November 2, 2016, the defendant, assisted by the court interpreter,

appeared before me and agreed to plead guilty to counts one and six of the indictment. See

United States v. Woodard, 387 F.3d 1329 (11th Cir. 2004) (holding that a magistrate judge

may, with the defendant’s consent, conduct a Rule 11 guilty plea hearing). Count One

charges that the defendant, with others, did knowingly and intentionally conspire to

possess with the intent to distribute narcotics, within 1,000 feet of a real property

comprising a public and/or private schools and/or playground, in violation of Title 21,

United States Code, Sections 841(a)(1), 846, and 860. Count six charges that the

defendant with others, did knowingly and unlawfully possess firearms in furtherance of

of a drug trafficking crime, in violation of Title 18, United States Code, Section 924(c)(1)(A)



                                              1
         Case 3:15-cr-00137-RAM       Document 610       Filed 11/15/16      Page 2 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

and 2.

         The defendant was advised of the purpose of the hearing and placed under oath,

with instructions that his answers must be truthful or he would subject himself to possible

charges of perjury or making a false statement.

         II.    CONSENT TO PROCEED BEFORE A MAGISTRATE JUDGE

         The defendant was provided with, and signed, a form waiving his right to trial by

jury.1 He confirmed that his attorney explained and translated the form, and he was further

explained his right to have all proceedings, including the change of plea hearing,

conducted by a district judge. To this end, defendant was made to understand the

differences between the functions and jurisdiction of magistrate and district judges, and

that, if he chose to proceed before a magistrate judge, that the magistrate would hold the

hearing and prepare a report and recommendation, which would be subject to review by

and the final approval of the district judge. Having heard all of this, the defendant

consented to proceed before a magistrate judge.




         1
         That form, entitled Consent to Proceed before a United States Magistrate Judge in a
Felony Case for Pleading Guilty, was signed and consented to by both parties, and is made part
of the record.

                                               2
       Case 3:15-cr-00137-RAM         Document 610        Filed 11/15/16     Page 3 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

III.    PROCEEDINGS UNDER RULE 11 OF THE FEDERAL RULES OF CRIMINAL
        PROCEDURE

        The acceptance of guilty pleas for federal criminal violations is governed by Rule 11

of the Federal Rules of Criminal Procedure, pursuant to which a guilty plea is valid only

if it is knowing and voluntary. United States v. Hernandez-Wilson, 186 F.3d 1, 5 (1st Cir.

2009). Accordingly, Rule 11 “ensure[s] that a defendant who pleads guilty does so with an

‘understanding of the nature of the charge and consequences of his plea.’” United States v.

Cotal-Crespo, 47 F.3d 1, 4 (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467

(1969)). Thus, a Rule 11 proceeding must indicate (1) the absence of coercion, (2) an

understanding of the charges, and (3) knowledge of the consequences of pleading guilty.

Cotal-Crespo, 47 F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244 (1st Cir. 1991)).

        A.      Competence to Enter a Guilty Plea

        The defendant was questioned about his age, education, employment, history of

treatment for mental illness or addiction, use of medication, drugs, or alcohol, and his

understanding of the purpose of the hearing. It was confirmed that the defendant received

a copy of the indictment and fully discussed the charges with his counsel and was satisfied

with the advice and representation he received. The court inquired whether counsel for the

defendant or the government had any doubts about the defendant’s capacity to plead;


                                               3
       Case 3:15-cr-00137-RAM       Document 610       Filed 11/15/16    Page 4 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

neither had any doubts about defendant’s competency. Upon hearing the defendant’s

responses and observing his demeanor, a finding was made that the defendant was

competent to plead and was fully aware of the hearing’s purpose.

        B.      Maximum Penalties

        The defendant expressed his understanding of the maximum penalties prescribed

by statute for the offense to which he was pleading guilty, namely, as to count one, a term

of imprisonment of not less than ten years and up to two terms of life, a fine not to exceed

$20,000,000 and a term of supervised release of not less than ten years in addition to any

term of incarceration. However, based on the stipulated and agreed amount of narcotics

possessed by the defendant, at least 2 kilograms but less than 3.5 kilograms of cocaine,

the maximum penalty for the offense is not less than 5 and up to 80 years, a fine not

to exceed $10,000,000.00 and a term of supervised release of at least eight years. As

to count six, a term of imprisonment of not less than five years and up to life, to be

served consecutive from any other count of conviction; a fine not to exceed $250,000.00,

and a term of supervised release of up to five years. However, Defendant was also

informed that a special monetary assessment of $100 per count would also be imposed, to

be deposited in the Crime Victim Fund, pursuant to Title 18, United States Code, Section

3013(a). The court explained the nature of supervised release and the consequences of



                                             4
       Case 3:15-cr-00137-RAM      Document 610     Filed 11/15/16    Page 5 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

violating its terms.

        C.      Plea Agreement

        The defendant was shown documents titled Plea Agreement and Supplement to

Plea Agreement (together, “Plea Agreement”), which are part of the record, and

identified his initials and signatures. He confirmed that he had the opportunity to read

and discuss the Plea Agreement with his attorney before signing, that his attorney had

translated the document, that it represented the entirety of his understanding with the

government, that he understood its terms, and that no one had made any other or

different promises or assurances to induce him to plead guilty.

        Pursuant to the Plea Agreement in this case, the Government had agreed to

recommend, or has agreed not to oppose the defendant’s request, that a particular

sentence or sentencing range is appropriate or that a particular provision of the

Sentencing Guidelines or sentencing factor does not apply. See Fed. R. Crim. P.

11(c)(1)(B). The defendant was admonished, pursuant to Rule 11(c)(3)(B), that his

sentence is a matter to be decided by the presiding judge, who may disregard the

Agreement’s recommendations and impose any sentence within the statutory range.

To this end, the presiding judge may accept or reject the Plea Agreement or may defer

decision until after considering the pre-sentence report. The defendant understood that

he could not later withdraw his guilty plea because the presiding judge imposes a

sentence greater than that recommended by the Plea Agreement.

                                           5
       Case 3:15-cr-00137-RAM        Document 610      Filed 11/15/16     Page 6 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

        The parties’ sentencing calculations and recommendations appear in the Plea

Agreement and were explained in open court. The defendant confirmed that these were

the sentencing recommendations he agreed to with the government. The defendant was

made to understand that the guidelines are no longer mandatory and are thus

considered advisory, and that during sentencing, the court will consider the sentencing

criteria found at Title 18, United States Code, Section 3553(a).

        The defendant was advised that under some circumstances, he or the

government may have the right to appeal the sentence the court imposes. The

defendant was further informed, and professed to understand, that the Plea Agreement

contains a waiver of appeal provision under which the defendant agreed to waive his

right to appeal the judgment and sentence if the court accepts the Plea Agreement and

sentences him according to its terms and conditions.

        D.      Waiver of Constitutional Rights

        The defendant was specifically advised that he has the right to persist in a plea of

not guilty, and that if he does so persist that he has the right to a speedy and public trial

by jury, or before a judge sitting without a jury if the court and government so agree; that

at trial he would be presumed innocent and the government would have to prove his guilt

beyond a reasonable doubt; that he would have the right to assistance of counsel for his

defense, and if he could not afford an attorney the court would appoint one to represent


                                             6
       Case 3:15-cr-00137-RAM         Document 610        Filed 11/15/16     Page 7 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

him; that at trial he would have the right to hear and cross-examine the government’s

witnesses, the right to decline to testify unless he voluntarily elected to do so, and the right

to the issuance of subpoenas or compulsory process to compel the attendance of witnesses

to testify on his behalf. He was further advised that if he decided not to testify or put on

evidence at trial, his failure to do so could not be used against him, and that at trial the jury

must return a unanimous verdict before he could be found guilty.

        The defendant expressed his understanding of these right, and his understanding

that by entering a plea of guilty there would be no trial and he would be waiving or giving

up the rights the court explained. The defendant’s counsel attested that he explained these

rights to his client and believed that the defendant understood his explanations. The

defendant was also informed that parole has been abolished and that any sentence of

imprisonment must be served. Further, defendant was explained that a pre-sentence report

would be prepared and considered by the district judge at sentencing. Defendant was

admonished that his guilty plea, if accepted, may deprive him of valuable civil rights,

including the right to vote, to hold public office, to serve as juror and to possess a firearm.

The defendant expressed his understanding of these consequences.

        E.      Factual Basis for the Guilty Plea

        The government presented a summary of the basis in fact for the offense charged

                                               7
       Case 3:15-cr-00137-RAM        Document 610      Filed 11/15/16    Page 8 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

in counts one and six and the evidence the government had available to establish the

defendant’s guilt beyond a reasonable doubt, should the case go to trial. The defendant

understood this explanation and agreed with the government’s submission as to evidence

which could have been presented at trial.

        F.      Voluntariness

        The defendant stated that he had not been induced to plead guilty, but, rather, that

he was entering such a plea freely and voluntarily because he is in fact guilty, and that no

one had threatened him or offered him a thing of value in exchange for his plea. He

acknowledged that no one had made any promises in exchange for his guilty plea.

Throughout the hearing, the defendant was able to consult with his attorney.

IV.     CONCLUSION

        The defendant, by consent, appeared before me pursuant to Rule 11 of the Federal

Rules of Criminal Procedure and entered a plea of guilty as to counts one and six of the

indictment. After cautioning and examining the defendant under Rule 11, I find that the

defendant, Christian Vargas-Torres is competent to enter this guilty plea, is aware of the

nature of the offense charged and the maximum penalties it carries, understands that the

charge is supported by evidence and a basis in fact, has admitted to the elements of the

offense, and has done so in an intelligent and voluntary manner with the full knowledge

                                             8
       Case 3:15-cr-00137-RAM         Document 610        Filed 11/15/16     Page 9 of 9



United States v. Vargas-Torres
Crim. No. 15-137(GAG/SCC)
Report and Recommendation

of the consequences of his guilty plea. Therefore, I recommend that the court accept the

guilty plea and that the defendant be adjudged guilty as to counts one and six of the

indictment.

        IT IS SO RECOMMENDED.

        The parties have fourteen days to file any objections to this report and

recommendation. Failure to file the same within the specified time waives the right to

appeal this report and recommendation. Henley Drilling Co. v. McGee, 36 F.3d 143, 150-51

(1st Cir. 1994); United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).

        In San Juan, Puerto Rico, this 2ndday of November, 2016.

                                            S/ SILVIA CARREÑO-COLL
                                            UNITED STATES MAGISTRATE JUDGE




                                               9
